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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

                                         Electronically Filed

HAWK TECHNOLOGY SYSYEMS, LLC,                        )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )      Civil Action No. 3:16-CV-678-JHM
                                                     )
LOUISVILLE ARENA AUTHORITY, INC.,                    )
                                                     )
                     Defendant.                      )


                          ORDER OF DISMISSAL WITH PREJUDICE

          Upon stipulation of the parties pursuant to Federal Rule of Civil Procedure 41, Plaintiff,

Hawk Technology Systems, LLC (“Hawk”) and Defendant, Louisville Arena Authority, Inc.

(“LAA”) have agreed to a dismissal with prejudice of this action.

          IT IS HEREBY ORDERED AND ADJUDGED as follows:

          1.     IT IS HEREBY ORDERED AND ADJUDGED that all claims of Plaintiff

Hawk against Defendant LAA are hereby DISMISSED in their entirety WITH PREJUDICE; and

          2.     IT IS HEREBY FURTHER ORDERED AND ADJUDGED that all claims of

Defendant/Counterclaim Plaintiff LAA against Plaintiff/Counterclaim Defendant Hawk are

hereby DISMISSED in their entirety WITH PREJUDICE.

          3.     The parties shall be responsible for the respective costs and expenses incurred
herein.




                                                                               February 8, 2018
